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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF IOWA


COREY LEWIS,                                     )
                                                 )
                      Plaintiff,                 )
                                                 )
       v.                                        )
                                                 )
DIVERSIFIED COLLECTION,                          )
SERVICES, INC.,                                  )
                                                 )
                      Defendant.                 )

                                          COMPLAINT

       NOW COMES the Plaintiff, COREY LEWIS, by and through his attorneys, LARRY P.

SMITH & ASSOCIATES, LTD., and for his complaint against the Defendant, DIVERSIFIED

COLLECTION SERVICES, INC., Plaintiff states as follows:

                               I.        PRELIMINARY STATEMENT

       1.     This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter “FDCPA”), 15 U.S.C. §1692, et seq.

                                   II.    JURISDICTION & VENUE

       2.     Jurisdiction arises under the FDCPA, 15 U.S.C. §1692 et seq., and pursuant to 28

U.S.C. §1331 and 28 U.S.C. §1337.

       3.     Venue is proper in this district pursuant to 28 U.S.C. §1391(b).

                                          III.       PARTIES

       4.     COREY LEWIS, (hereinafter, “Plaintiff”) is an individual who was at all relevant

times residing in the City of West Des Moines, County of Polk, State of Iowa.

       5.     The debt that Plaintiff was allegedly obligated to pay was a debt allegedly owed

by Plaintiff to American Education Services (hereinafter, “AES”).

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           6.    The debt that Plaintiff allegedly owed AES was for a student loan, the funds of

which were used for the personal use of Plaintiff and/or used for household expenditure.

           7.    At all relevant times, Plaintiff was a “consumer” as that term is defined by 15

U.S.C. §1692a(3).

           8.    DIVERSIFIED COLLECTION SERVICES, INC., (hereinafter, “Defendant”) is a

business entity engaged in the collection of debt within the State of Iowa.             Defendant is

incorporated in the State of California.

           9.    The principal purpose of Defendant’s business is the collection of debts allegedly

owed to third parties.

           10.   Defendant regularly collects, or attempts to collect, debts allegedly owed to third

parties.

           11.   During the course of its efforts to collect debts allegedly owed to third parties,

Defendant sends to alleged debtors bills, statements, and/or other correspondence via the mail

and/or electronic mail and initiates contact with alleged debtors via various means of

telecommunication, such as the telephone and facsimile.

           12.   At all relevant times, Defendant acted as a debt collector as that term is defined by

15 U.S.C. §1692a(6).

           13.   At all relevant times, Defendant acted through its duly authorized agents,

employees, officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,

subrogees, representatives, and insurers.

                                        IV.    ALLEGATIONS

           14.   In or around July 2011, Defendant initiated a telephone call to Plaintiff in an

attempt to collect a debt he allegedly owed to AES.



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       15.     The aforesaid telephone call was initiated by Defendant to Plaintiff at Plaintiff’s

place of employment.

       16.     At the time Defendant initiated the aforesaid telephone call to Plaintiff, Plaintiff

was at his place of employment.

       17.     Plaintiff then engaged in a telephone conversation with Defendant wherein

Plaintiff advised Defendant that he was at work.

       18.     Plaintiff then specifically advised Defendant that his employer did not permit him

to accept calls of such nature while he was at work.

       19.     Plaintiff specifically told Defendant not to contact him at his place of

employment.

       20.     During the course of the aforesaid telephone call between Plaintiff and Defendant,

Plaintiff then provided Defendant with his cellular telephone number.

       21.     Plaintiff informed Defendant to contact him on his cellular telephone number as

opposed to having Defendant contact him at the telephone number at his place of employment.

       22.     As of in or around July 2011, subsequent to Plaintiff’s telephone conversation

with Defendant, as delineated above, Defendant had in its possession at least one (1) alternative

telephone number at which it could contact Plaintiff other than his telephone number at his place

of employment.

       23.     As of in or around July 2011, subsequent to the aforesaid telephone conversation

between the parties wherein Plaintiff advised Defendant that he could not take calls while he was

at work, Defendant had information in its possession that it was inconvenient for Plaintiff to

receive telephone calls while he was at work.




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       24.     As of in or around July 2011, subsequent to the aforesaid telephone conversation

between the parties wherein Plaintiff advised Defendant that he could not take calls while he was

at work, Defendant was cognizant that it was inconvenient for Plaintiff to receive telephone calls

while he was at work.

       25.     In or around July 2011 through in or around September 2011, despite Plaintiff

having advised Defendant that his employer prohibits him from receiving telephone calls such as

those from Defendant, Defendant proceeded to initiate multiple telephone calls to Plaintiff at his

place of employment in a further attempt to collect a debt Plaintiff allegedly owed.

       26.     In or around July 2011 through in or around September 2011, despite Plaintiff

having provided Defendant with an alternative telephone number at which Defendant could

communicate with Plaintiff, Defendant proceeded to initiate multiple telephone calls to Plaintiff

at his place of employment in a further attempt to collect a debt Plaintiff allegedly owed.

       27.     From in or around July 2011 through in or around September 2011, and on

multiple occasions therein, Plaintiff reiterated to Defendant that his employer did not permit him

to accept calls of such nature while he was at work.

       28.     From in or around July 2011 through in or around September 2011, and on

multiple occasions therein, Plaintiff reiterated to Defendant not to contact him at his place of

employment.

       29.     From in or around July 2011 through in or around September 2011, and on

multiple occasions therein, Plaintiff reiterated to Defendant to contact Plaintiff on his cellular

telephone number as opposed to Plaintiff’s telephone number at his place of employment.




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        30.     From in or around July 2011 through in or around September 2011, and on

multiple occasions therein, Plaintiff, again, provided Defendant with his cellular telephone

number so that Defendant could contact Plaintiff at said telephone number.

        31.     In or around July 2011 through in or around September 2011, despite Plaintiff

having advised Defendant, on multiple occasions, of the foregoing information, Defendant

proceeded to initiate multiple telephone calls to Plaintiff at his place of employment in a further

attempt to collect a debt Plaintiff allegedly owed.

        32.     In or around July 2011, Plaintiff engaged in a telephone conversation with

Defendant wherein Defendant attempted to collect the debt Plaintiff allegedly owed to AES.

        33.     During the course of the aforesaid telephone conversation, Defendant informed

Plaintiff that if he failed to enter into a payment arrangement with Defendant relative to the debt

he owed then Defendant would involuntarily take funds from Plaintiff’s paycheck.

        34.     During the course of the aforesaid telephone conversation, Defendant also

informed Plaintiff that if he failed to enter into a payment arrangement with Defendant then

Defendant would involuntarily take funds from Plaintiff’s checking account.

        35.     Defendant was attempting to collect on a debt allegedly owed by Plaintiff for a

federal loan.

        36.     Defendant threatened to garnish Plaintiff’s wages.

        37.     Defendant threatened to garnish Plaintiff’s checking account.

        38.     Defendant has no standing to commence garnishment proceedings on behalf of

the creditor.




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         39.    Defendant is a debt collection company and as a debt collection company

attempting to collect on a federal loan, Defendant can only refer the matter back to the creditor

with a recommendation that they send notice of garnishment.

         40.    The representations made to Plaintiff by Defendant regarding garnishment were

false.

         41.    On or about August 8, 2011, Defendant initiated a telephone call to Plaintiff in a

further attempt to collect the debt Plaintiff allegedly owed to AES.

         42.    Again, Defendant initiated the aforesaid telephone call to Plaintiff at Plaintiff’s

place of employment.

         43.    Plaintiff then engaged in a telephone conversation with Defendant wherein

Plaintiff informed Defendant that he was working and that he could not speak to Defendant

while he was at work.

         44.    Defendant responded to Plaintiff by informing him that Plaintiff had to pay the

debt he owed by the end of the day.

         45.    Defendant further informed Plaintiff that if he did not pay the debt he owed by the

end of the day then Defendant would mark Plaintiff’s file to note that Plaintiff was refusing to

pay the debt.

         46.    At no time during the course of the aforesaid telephone conversation did Plaintiff

inform Defendant that he refused to pay the debt on which it was attempting to collect.

         47.    Defendant’s representation to Plaintiff that it would mark his account as a “refusal

to pay” had the effect of conveying to an unsophisticated consumer that Defendant would refer

the debt on which it was attempting to collect to AES and AES would take additional collection

actions against Plaintiff, such as filing a lawsuit against Plaintiff.



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        48.    Defendant’s representation to Plaintiff that it would refer the debt on which it was

attempting to collect to AES had the effect of conveying to an unsophisticated consumer that

AES would proceed with initiating a lawsuit against Plaintiff relative to the debt he allegedly

owed.

        49.    To date, AES has not filed a lawsuit against Plaintiff for the debt he allegedly

owed.

        50.    Defendant’s statement that it would mark Plaintiff’s account as “refusal to pay”

was neither a statement made in an effort to seek payment from Plaintiff nor a statement made to

further the collection efforts of Defendant.

        51.    The natural consequence of Defendant’s statement to Plaintiff, as delineated

above, was to unjustly condemn and vilify Plaintiff for his non-payment of the debt he allegedly

owed.

        52.    The natural consequence of Defendant’s statement was to produce an unpleasant

and/or hostile situation between Defendant and Plaintiff.

        53.    The natural consequence of Defendant’s statement was to cause Plaintiff mental

distress.

        54.    On or about August 15, 2011, Defendant initiated a telephone call to Plaintiff in a

further attempt to collect the debt Plaintiff allegedly owed to AES.

        55.    Again, Defendant initiated the aforesaid telephone call to Plaintiff at Plaintiff’s

place of employment.

        56.    Plaintiff then engaged in a telephone conversation with Defendant wherein

Plaintiff informed Defendant that he was working and that he could not speak to Defendant

while he was at work.



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       57.      Plaintiff then ended the telephone conversation with Defendant.

       58.      On or about August 15, 2011, subsequent to the parties having engaged in the

aforesaid telephone call, Defendant initiated a second telephone call to Plaintiff in a further

attempt to collect the debt Plaintiff allegedly owed to AES.

       59.      Again, Defendant initiated the aforesaid telephone call to Plaintiff at Plaintiff’s

place of employment.

       60.      Again, Plaintiff then engaged in a telephone conversation with Defendant wherein

Plaintiff reiterated to Defendant that he was working and that he could not speak to Defendant

while he was at work.

       61.      On or about August 15, 2011, subsequent to Plaintiff’s telephone conversations

with Defendant, as delineated above, and despite Plaintiff having advised Defendant, on multiple

occasions, that he could not speak to Defendant while he was at work, Defendant proceeded to

initiate a third telephone call to Plaintiff at his place of employment.

       62.      At the time Defendant initiated the aforesaid telephone call to Plaintiff’s place of

employment, Defendant spoke to Plaintiff’s co-worker at Plaintiff’s place of employment.

       63.      Defendant then left a message with Plaintiff’s co-worker.

       64.      Defendant informed Plaintiff’s co-worker to inform Plaintiff that Plaintiff had to

immediately contact Defendant.

       65.      Plaintiff’s co-worker informed Plaintiff of the contents of the aforesaid telephone

conversation.

       66.      In its attempts to collect the debt allegedly owed by Plaintiff to AES, Defendant

violated the FDCPA, 15 U.S.C. §1692, in one or more of the following ways:




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              a. Communicated with the consumer at an unusual time and place or at a time or
                 place which should be known to be inconvenient to the consumer in violation
                 of 15 U.S.C. § 1692c(a)(1);

              b. Communicated with the consumer at the consumer’s place of employment
                 despite knowing or having reason to know that the consumer’s employer
                 prohibits the consumer from receiving such communication in violation of 15
                 U.S.C. §1692c(a)(3);

              c. Used false, deceptive, misleading and unfair or unconscionable means to
                 collect or attempt to collect an alleged debt in violation of 15 U.S.C. §1692e;

              d. Represented or implied that nonpayment of any debt will result in the arrest or
                 imprisonment of any person or the seizure, garnishment, attachment, or sale of
                 any property or wages of any person unless such action is lawful and the debt
                 collector or creditor intends to take such action in violation of 15 U.S.C.
                 §1692e(4);

              e. Threatened to take action that cannot legally or is not intended to be taken in
                 violation of 15 U.S.C. §1692e(5);

              f. Used any false representation or deceptive means to collect or attempt to
                 collect any debt or to obtain information concerning the consumer in violation
                 of 15 U.S.C. §1692e(10);

              g. Used unfair and/or unconscionable means to collect or attempt to collect a
                 debt in violation of 15 U.S.C. §1692f; and,

              h. Was otherwise deceptive and failed to comply with the provisions of the
                 FDCPA.

       67.    As a result of Defendant’s violations as aforesaid, Plaintiff has suffered, and

continues to suffer, personal humiliation, embarrassment, mental anguish and emotional distress.

                                     V.      JURY DEMAND

       68.    Plaintiff hereby demands a trial by jury on all issues so triable.

                                  VI.     PRAYER FOR RELIEF

       WHISEFORE, Plaintiff, COREY LEWIS, by and through his attorneys, respectfully

prays for judgment as follows:

              a.      All actual compensatory damages suffered;

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          b.    Statutory damages of $1,000.00;

          c.    Plaintiff’s attorneys’ fees and costs;

          d.    Any other relief deemed appropriate by this Honorable Court.


                                                         Respectfully submitted,
                                                         COREY LEWIS

                                                 By:      s/ David Steen
                                                          Attorney for Plaintiff

Dated: March 19, 2012

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